      Case 2:19-cr-00898-DLR Document 447 Filed 09/09/22 Page 1 of 3



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 8   Attorneys for Plaintiff
 9
                          IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE DISTRICT OF ARIZONA
11
12   United States of America,                             CR-19-00898-PHX-DLR (DMF)
13                         Plaintiffs,
                                                       MOTION TO EXTEND TIME TO
14            vs.                                    RESPOND TO DEFENDANT’S THREE
                                                      MOTIONS TO DISMISS IN FULL, IN
15                                                        PART, AND TO SEVER
     David Allen Harbour,
16
                           Defendants.
17
18          The United States respectfully requests an extension of time to respond to
19   Defendant’s three motions filed on September 9, 2022: Motion #1 to Dismiss or
20   Alternatively to Strike Surplusage from the Indictment (Document 444), Motion #2 to
21   Dismiss Counts 11-12 and Allegations in the Indictment Not Amounting to the Charges
22   Pursuant to 18 U.S.C. § 3282 (Document 445), and Motion #3 to Sever and for Relief from
23   Prejudicial Joinder (Document 446).
24          The United States’ response to each of these three motions is due on September 23,
25   2022. Counsel for the United States are in separate trials over the next four weeks. For this
26   reason, in addition to the need to respond to three separate motions, the United States
27   respectfully requests that the Court extend the time to respond to all three motions by two
28   weeks, to October 7, 2022. Defendant does not object.
     Case 2:19-cr-00898-DLR Document 447 Filed 09/09/22 Page 2 of 3




 1       Respectfully submitted this 9th day of September, 2022.
 2
                                                  GARY M. RESTAINO
 3                                                United States Attorney
                                                  District of Arizona
 4
                                                   s/Kevin M. Rapp
 5                                                KEVIN M. RAPP
                                                  COLEEN SCHOCH
 6                                                Assistant U.S. Attorneys
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      Case 2:19-cr-00898-DLR Document 447 Filed 09/09/22 Page 3 of 3



                                 CERTIFICATE OF SERVICE
 1
           I hereby certify that on this same date, I electronically transmitted the attached
 2
     document to the Clerk's Office using the CM/ECF System for filing a copy to the following
 3
     CM/ECF registrant:
 4
           Stephen M Dichter, Attorney for Defendant
 5
 6    s/Daniel Parke_
     U.S. Attorney’s Office
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